         Case 18-50100            Doc 40       Filed 06/21/18           EOD 06/21/18 10:29:08            Pg 1 of 3


                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

IN RE:                                                              )      Chapter 7
                                                                    )
                                                                    )
ITT EDUCATIONAL SERVICES, INC., et al.1                             )      Case No. 16-07207-JMC-7A
                                                                    )
           Debtors.                                                 )      Jointly Administered
                                                                    )
DEBORAH J. CARUSO, the CHAPTER 7                                    )
TRUSTEE for ITT EDUCATIONAL                                         )
SERVICES, INC., ESI SERVICE CORP. and                               )
DANIEL WEBSTER COLLEGE, INC.,                                       )
                                                                    )
                               Plaintiff,                           )        Adversary No. 18-50100
                                                                    )
             vs.                                                    )
                                                                    )
    KEVIN MODANY, JOHN E. DEAN, C. DAVID                            )
    BROWN II, JOANNA T. LAU, THOMAS I.                              )
    MORGAN, JOHN VINCENT WEBER, JOHN F.                             )
    COZZI, SAMUEL L. ODLE, and JERRY M.                             )
    COHEN,                                                          )
                                                                    )
                               Defendants.                          )




                                            NOTICE OF APPEARANCE

             Thomas F. Berndt with the law firm of Robins Kaplan LLP hereby enters his

    appearance in this adversary proceeding on behalf of the Plaintiff, Deborah J. Caruso, the

    chapter 7 trustee in the above-referenced bankruptcy case.




1
    The debtors in these cases, along with the last four digits of their respective federal tax identification numbers, are
    ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
     Case 18-50100     Doc 40   Filed 06/21/18     EOD 06/21/18 10:29:08      Pg 2 of 3




Dated: June 21, 2018                             Respectfully submitted,

                                          By:       /s/ Thomas F. Berndt
                                                 Thomas F. Berndt, Litigation, Co-Counsel
                                                 for the Trustee

                                                 ROBINS KAPLAN LLP
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    Case 18-50100        Doc 40     Filed 06/21/18      EOD 06/21/18 10:29:08         Pg 3 of 3



                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 21, 2018, a copy of the foregoing Notice of Appearance
 was filed electronically. Notice of this filing will be sent to the following party/parties through
 the Court’s Electronic Case Filing System. Party/parties may access this filing through the
 Court’s system.

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       I further certify that on June 21, 2018, a copy of the foregoing Notice of Appearance
 was mailed by first-class U.S. Mail, postage prepaid and properly addressed, to the following:

 None.




                                                         /s/ Thomas F. Berndt
                                                      Thomas F. Berndt
